Case 5:15-cr-00382 Document1 Filed on 04/14/15 in TXSD Page 1 of 4

United States District Court
Southern District of Texas
UNITED STATES DISTRICT COURT iLED NNM
APR 1 4 201
SOUTHERN DISTRICT OF TEXAS
CLERK UF SOURT
LAREDO DIVISION LAREDO Civ.=iON
UNITED STATES OF AMERICA §
§ - =
v. § CRIMINAL NO. L 15 382
§ :
JUAN HINOJOSA §

 

SEALED INDICTMENT D S

THE GRAND JURY CHARGES THAT:
COUNT ONE

On or about November 30, 2012, in the Southern District of Texas and within the

jurisdiction of the Court, Defendant,
JUAN HINOJOSA,

having been convicted of a crime punishable by imprisonment for a term exceeding one year, did
knowingly possess in and affecting commerce, a firearm namely, a Remington rifle, Model: 597
VTR, Caliber: .22, with serial number C2617247.

In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

 
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COUNT TWO

On or about November30, 2012, in the Southern District of Texas and within the
jurisdiction of the Court, Defendant,

JUAN HINOJOSA,
having been convicted of a crime punishable by imprisonment for a term exceeding one year, did
knowingly possess in and affecting commerce, a firearm namely, a Colt pistol, model MKIV,

Caliber:.45, with serial number 80BS12940.

In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

COUNT THREE

On or about November 30, 2012, in the Southern District of Texas and within the
jurisdiction of the Court, Defendant,

JUAN HINOJOSA,

having been convicted of a crime punishable by imprisonment for a term exceeding one year, did

knowingly possess in and affecting commerce, a firearm namely, a Colt pistol, Model MKIV, in

Caliber: .45, with serial number FL04503E.

In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

 
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COUNT FOUR

On or about November 30, 2012, in the Southern District of Texas and within the

jurisdiction of the Court, Defendant,

JUAN HINOJOSA,
having been convicted of a crime punishable by imprisonment for a term exceeding one year, did
knowingly possess in and affecting commerce, a firearm namely, a Pietro Beretta pistol, Model:
950B, Caliber: .22, with serial number C22378.

In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

COUNT FIVE
On or about June 6, 2013, in the Southern District of Texas and within the jurisdiction of
the Court, Defendant,
JUAN HINOJOSA,
having been convicted of a crime punishable by imprisonment for a term exceeding one year, did
knowingly possess in and affecting commerce, a firearm, namely, namely, a Sig Sauer pistol, 9
millimeter, Model P6, with serial number M527350.

In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

A TRUE BILL:
“ORIGINAL SIGNATURE ON FILE

 

 

FOREMAN OF THE GRAND JURY

KENNETH MAGIDSON
UNITEDATATES ATTO

CVERPIIELL
JOSE HOMERO RAMIREZ
Assistant United States Attorney

 
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USA-74-24b
(Rev. 6-1-71)

CRIMINAL DOCKET y yRog¢0

LAREDO DIVISION

 

NO.
FILE: 2013R27961 APR 14 2015

 

 

SEALED INDICTMENT Filed: Judge:
ATTORNEYS:
UNITED STATES OF AMERICA
KENNETH MAGIDSON, USA
VS. JOSE HOMERO RAMIREZ, AUSA
JUAN HINOJOSA

CHARGE: Ct. 1-5: Possession of Firearms by convicted felon [18 USC 922(g)(1), 924(a)(2)}

TOTAL COUNTS: 5

PENALTY: Cts. 1-5: 10 Years, $250,000.00, $100.00 Special Assessment,
Not More Than a3 Year Term of Supervised Release

In Jail:

On Bond:

Name & Address of Surety:

No Arrest:

 

 

 
